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                                                Main Document    Page 1 of 7


 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 James I. Stang (CA Bar No. 94435)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067-4114
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760
 E-mail: jstang@pszjlaw.com




  □ Individual appearing without attorney
  � Attorney for: Joint Debtor, Wendy Villareal
                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

  In re:                                                                      CASE NO.: 2:14-bk-15245-BR
 Eduardo Villareal and                                                        CHAPTER:?
 Wendy Villareal
                                                                                    NOTICE OF VOLUNTARY DISMISSAL
                                                                                        OF A CONTESTED MATTER
                                                                                     [FRBP 9014(c) and LBR 9013-1(k)]
                                                                              DATE: 01/16/2024
                                                                              TIME: 10:00 am
                                                                              COURTROOM: 1668
                                                                              PLACE: Edward R. Roybal Fed. Bldg. & Courthouse
                                                                                     255 E. Temple Street, Suite 1660
                                                                                     Los Angeles, CA 90012
                                                              Debtor(s).

A motion for an order Objection to Claim #4 of Navy Federal Credit Union
was filed on (date) 12/05/2023      and
� No response was filed with the court or served on the movant; or
D The parties stipulated to dismiss on (date) ____ on the record of the court; or
D The parties filed a stipulation to dismiss on (date) ______
Notice is given that the above-entitled contested matter [docket entry number _3_6 _] is dismissed pursuant to
FRBP 9014(c).

Date: 01/09/2024                                                   Pachulski Stang Ziehl & Jones LLP
                                                                  Printed name of law firm (if applicable)
                                                                   James I. Stang
                                                                  Printed name of individual Movant or attorney for Movant

                                                                  /s/ James I. Stang
                                                                  Signature of individual Movant or attorney for Movant

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 10100 Santa Monica Blvd., 13th Fl., Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF VOLUNTARY DISMISSAL OF A CONTESTED
MATTER will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01/09/2024 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                       � Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/09/2024 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 Navy Federal Credit Union                Navy Federal Credit Union
 Attn: Mary McDuffie                      Attn: CSC‐Lawyers Incorporating Service
 President/CEO                            2710 Gateway Oaks Drive, Suite 150N
 P.O. Box 3000                            Sacramento, CA 95833-3505
 Merrifield, VA 22119

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL {state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/09/2024 , I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
 such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
 that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
 filed.
VIA OVERNIGHT MAIL
The Honorable Barry Russell
U.S.Bankruptcy Court, Central District of California
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012
                                                                         D Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  01/09/2024       Sop_. _hia                                                            = :;.;:;;e;._____________
                            _ _Le_e_______________.;..;:/s;.;_;/S=o;;.i;;p;.:.;h�ia;;_;:Le
 Date                             Printed Name                         Signature




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2014                                                               Page2                            F 9013-1.5.MOTION.VOL.DISMISSAL
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TO BE SERVED BY THE COURT VIA NEF:
2:14-bk-15245-BR Notice will be electronically mailed to:

Mario M De La Rosa on behalf of Debtor Eduardo Villarreal
vnndelarosa@aol.com

Mario M De La Rosa on behalf of Joint Debtor Wendy Villareal
vnndelarosa@aol.com

Marian Garza on behalf of Creditor Capital One Auto Finance
ecfnotices@ascensioncapitalgroup.com

David M Goodrich on behalf of Trustee John J Menchaca (TR)
dgoodrich@go2.law,
kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com

Jennifer McGrath on behalf of Interested Party Jennifer J. McGrath
jmcgrath@mklawllp.com

John J Menchaca (TR)
jmenchaca@menchacacpa.com,
igaeta@menchacacpa.com;ecf.alert+Menchaca@titlexi.com

Stephanie Rios on behalf of Creditor Capital One Auto Finance, a division of Capital
One, N.A.
ecfnotices@ascensioncapitalgroup.com

Avi Schild on behalf of Interested Party Courtesy NEF
bk@atlasacq.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov

Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
                Case 2:14-bk-15245-BR   Doc 40 Filed 01/09/24 Entered 01/09/24 15:25:51 Desc
Label Matrix for local noticing         Capital
                                         Main One Auto Finance Page 4 of 7
                                                Document                   Capital One Auto Finance, a division of Capi
0973-2                                  c/o Ascension Capital Group                c/o Ascension Capital Group
Case 2:14-bk-15245-BR                   PO Box 201347                              P.O. Box 201347
Central District of California          Arlington, TX 76006-1347                   Arlington, TX 76006-1347
Los Angeles
Tue Jan 9 14:44:59 PST 2024
Golden Goodrich LLP                     Los Angeles Division                       AFNI
3070 Bristol Street                     255 East Temple Street,                    P O Box 3517
Suite 640                               Los Angeles, CA 90012-3332                 BLOMINGGTON IL 61702-3517
Costa Mesa, CA 92626-3067


AMERICAN EXPRESS                        ANTELOPE VALLEY EMERG MED ASSO             ANTELOPE VALLEY HOSPITAL
P O BOX 7871                            P O BOX 12380                              P O BOX 512869
FORT LAUDERDALE FL 33329                WESTMINISTER CA 92685-2380                 LOS ANGELES CA 90051-0869



ANTELOPE VALLEY HOSPITAL                ANTELOPE VALLY HOSPITAL                    ASSET ACCEPT
P O BOX 7001                            P O BOX 512869                             P O BOX 2036
LANCASTER CA 93539-7001                 LOS ANGELES CA 90051-0869                  WARREN MI 48090-2036



AWA COLLECTIONS                         Antelope Valley Medical Center             Ashley Funding Services, LLC
P O BOX 6605                            1600 West Avenue J                         Resurgent Capital Services
ORANGE CA 92863-6605                    Lancaster CA 93534-2894                    PO Box 10587
                                                                                   Greenville, SC 29603-0587


BANK OF AMERICA                         BAY ARE CREDIT SERVICES                    BLEIER AND COX LLP
1825 E BUCKEYE RD                       P O BOX 467600                             16130 VENTURA BLVD STE 620
PHOENIX AZ 85034-4216                   ATLANTA GA 31146-7600                      ENCINO CA 91436-2542



CALIFORNIA BUSINESS                     CALVARY PORTFOLIO                          (p)CAVALRY PORTFOLIO SERVICES LLC
1711 S MOUNTAIN AVE                     7 SKYLINE DR 3RD FLOOR                     500 SUMMIT LAKE DR
MONROVIA CA 91016-4256                  HAWTHORNE NY 10532-2162                    STE 400
                                                                                   VALHALLA NY 10595-2321


CAPITAL ONE                             CB OF LANCASTER/PALMDALE                   CMRE FINAANNCIAL SVCS
P O BOX 60599                           P O BOX 2067                               3350 E BIRCH ST STE 200
CITY OF INDUSTRY CA 91716-0599          LANCASTER CA 93539-2067                    BREA CA 92821-6267



CREDIT MANAGEMENT                       CREDIT MANAGEMENT LP                       CREDIT SOLUTION CORP
4200 INTERNATIONAL PKWY                 4200 INTERNATIONAL PKWY                    9577 CHESAPEAKE DR
CARROLLTON TX 75007-1912                CARROLLTON TX 75007-1912                   SAN IEGO CA 92123-1304



DESERT VIEW EMERGENCY PHYSICIANS        DESIGNED RECEIVABLE                        (p)DISCOVER FINANCIAL SERVICES LLC
P O BOX 7279                            1 CENTERPOINTE DRI STE 450                 PO BOX 3025
PHILADELPHIA PA 19101-7279              LA PALMA CA 90623-1089                     NEW ALBANY OH 43054-3025
                Case 2:14-bk-15245-BR   Doc 40 Filed 01/09/24 Entered 01/09/24 15:25:51                  Desc
Discover Bank                           ENHANCED RECOVERY COMPANY LLC
                                         Main Document             Page 5 of 7 ERS SOLUTIONS INC
Discover Products Inc                   8014BAYBERRY RD                           P O BOX 9004
PO Box 3025                             JACKSONVILLE FL 32256-7412                RENTON WA 98057-9004
New Albany Ohio 43054-3025


FINANCIAL CREDIT NETWORK INC            FIRST NATIONAL COLLECTION BUREAU INC      FIRSTOURCE ADVANTAGE
P O BOX 3084                            610 WALTHAM WAY                           P O BOX 23860
VISALIA CA 93278-3084                   SPARKS NV 89437-6695                      BELLEVILLE IL 62223-0860



FIRSTSOURCES ADVANTAGE                  FLINT C ZIDE ESQ                          GECRB
7650 MAGNA DRIVE                        1445 HUNTINGTON DRIVE STE 300             P O BOX 965005
BELLEVILLE IL 62223-3309                SOUTH PASADENA CA 91030-5475              ORLANDO FL 32896-5005



HERBERT P SEARS CO INC                  HIGH DESERT GASTROENTEROLOGY              HOUSEHOLD BANK GOLD
2000 18TH ST                            P O BOX 5988                              P O BOX 60102
BAKERSFIELD CA 93301-4292               LANCASTER CA 93539-5988                   CITY OF INDUSTRY CA 91716-0102



HP SEARS COMPANY INC                    I C SYSTEM                                (p)LABORATORY CORPORATION OF AMERICA
2000 18TH ST                            P O BOX 64886                             ATTN GOVERNMENT AUDITS
BAKERSFIELD CA 93301-4292               ST PAUL MN 55164-0886                     PO BOX 2270
                                                                                  BURLINGTON NC 27216-2270


LVNV FUNDING                            LVNV Funding, LLC                         MICHAEL S HUNT ESQ
P O BOX 740281                          Resurgent Capital Services                151 BERNAL ROAD TE 8
HOUSTON TX 77274-0281                   PO Box 10587                              SAN JOSE CA 95119-1306
                                        Greenville, SC 29603-0587


McGrath Kavinoky LLP                    NATIONAL CREDIT ADJU                      NATIONALWIDE CREDIT INC
4500 Park Granada, Suite 202            327 W 4TH AVE                             2002 SUMMIT BLVD STE 600
Calabasas, CA 91302-1666                HUTCHINSON KS 67501-4842                  ATLANTA GA 30319-1559



NAVY FEDERAL CREDIT UNION               NELSON AND KENNARD                        NELSON WATSON AND ASSOCIATES LLC
P O BOX 3600                            2180 HARVARD ST STE 160                   80 MERRIMACK STREET LOWER LEVEL
MERRIFIELD VA 22116-3600                SACRAMENTO CA 95815-3314                  HAVERHILL MA 01830-5211



NORTHLAND GROUP, INC.                   Navy Federal Credit Union                 PACIFIC DENTAL CARE
P O BOX 390846                          P.O. Box 3000                             37262 47TH ST EAST STE 101
MINNEAPOLIS, MN 55439-0846              Merrifield, VA 22119-3000                 PALMDALE CA 93552-4482



PACIFIC DENTAL CARE DENTAL GROUP        PALMDALE REGIONAL MED CTR                 PROFESSIONAL COLLECTION
39522 10TH ST WEST C                    P O BOX 31001                             P O BOX 45274
PALMDALE CA 93551-3757                  PASADENA CA 91110-0001                    LOS ANGELES CA 90045-0274
                  Case 2:14-bk-15245-BR              Doc 40 Filed 01/09/24 Entered 01/09/24 15:25:51                           Desc
PROGRESSIVE MANAGEMENT SYSTEMS                       RAMIN
                                                      Main SAMADI MD
                                                              Document Page 6 of 7      RMA INC
1521 WEST CAMERON AVE                                P O BOX 55007                                        4600 B MONTGOMERY NE
WEST COVINA CA 91790-2738                            VALENCIA CA 91385-0007                               ALBUQUERQUE NM 87109-1210



TARGET                                               THD CBSD                                             THE BRACHFELD LAW GROUP P C
P O BOX 673                                          P O BOX 9714                                         880 APOLLO ST STE 155
MINNEAPOOLIS MN 55440-0673                           GRAY TN 37615-9714                                   EL SEGUNDO CA 90245-4783



(p)US BANK                                           United States Trustee (LA)                           VITAL RECOVERY SERVICES INC
PO BOX 5229                                          915 Wilshire Blvd, Suite 1850                        P O BOX 923748
CINCINNATI OH 45201-5229                             Los Angeles, CA 90017-3560                           NORCROSS GA 30010-3748



Eduardo Villarreal                                   James Stang                                          Jennifer J. McGrath
9721 E. Avenue S8                                    Pachulski Stang Ziehl & Jones LLP                    McGrath Kavinoky LLP
Littlerock, CA 93543-1901                            10100 Santa Monica Blvd 13th Fl                      4500 Park Granada
                                                     Los Angeles, CA 90067-4114                           Suite 202
                                                                                                          Calabasas, CA 91302-1666

(p)JOHN J MENCHACA TR                                Mario M De La Rosa                                   Wendy Villareal
835 WILSHIRE BLVD SUITE 300                          6410 Van Nuys Blvd Ste D                             9721 E. Avenue S8
LOS ANGELES CA 90017-2655                            Van Nuys, CA 91401-1449                              Littlerock, CA 93543-1901




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CALVARY PORTFOLIO SERVICES LLC                       DISCOVER FIN SERVICES                                LABORATORY CORPORATION OF AMERICA
P O BOX 1017                                         P O BOX 15316                                        P O BOX 2240
HAWTHORN NY 10532                                    WILMIGTON DE 19850                                   BURLINGTON NORTH CAROLINA 272



US BANK                                              John J Menchaca (TR)
P O BOX 1800                                         835 Wilshire Blvd., Suite 300
SAIT PAUL MINNESOTA 55101                            Los Angeles, CA 90017




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                      (u)Navy Federal Credit Union                         (d)ANTELOPE VALLEY HOSPITAL
                                                                                                          P O BOX 512869
                                                                                                          LOS ANGELES CA 90051-0869
                Case 2:14-bk-15245-BR   Doc 40 Filed 01/09/24 Entered 01/09/24 15:25:51 Desc
(d)I C SYSTEM INC                       (d)LVNV
                                         Main FUNDING LLC
                                                Document  Page 7 of 7      End of Label Matrix
P O BOX 64886                           P O BOX 740281                     Mailable recipients   74
ST PAUL MN 55164-0886                   HOUSTON TX 77274-0281              Bypassed recipients    5
                                                                           Total                 79
